Form B2040 (Form 2040l) (12/15)

                  IN THE UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF TENNESSEE
                                                 Case No. 3:18−bk−04526
                                                       Chapter 7

In re:

   Integrated Healing Technologies, LLC
   fka Pioneer Technology, LLC
   100A Beta Drive
   Franklin, TN 37064


Employer Tax ID / Other nos.:
  20−8449167


                           NOTICE OF NEED TO FILE PROOF OF CLAIM
                                DUE TO RECOVERY OF ASSETS

Notice is given that:

The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since
that notice was sent, assets have been recovered by the trustee. Creditors who wish to share in any distribution
of funds must file a proof of claim with the clerk of the bankruptcy court on or before:


                                             Claims Deadline Date: 10/22/18



Creditors who do not file a proof of claim on or before this date will not share in any distribution from the debtor's
estate. Registered Users must file their claim electronically at HTTPS://ECF.TNMB.USCOURTS.GOV.
Non−registered claim filers may file the claim by regular mail. If filing by regular mail you must include a stamped,
self−addressed envelope for return of claim. A Proof of Claim is a signed statement describing a creditor's claim. A
Proof of Claim (Official Form B410) can be obtained at the bankruptcy courts web site:
http://www.tnmb.uscourts.gov/forms, the United States Court Web Site:
http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx or at any bankruptcy clerk's office.

There is no fee for filing the proof of claim.

If you have already filed a proof of claim, do not file another.

                                                             BY THE COURT

Dated: 7/24/18                                               MATTHEW T LOUGHNEY
                                                             Court Clerk


Address of the Bankruptcy Clerk's Office:
701 Broadway Room 170
Nashville, TN 37203
Telephone number: 615−736−5584




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